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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    ALBERTO LOPEZ,                                    Case No.: 20-CV-1453-JLS-WVG
12                                     Plaintiff,
                                                        ORDER ON JOINT MOTION TO
13    v.                                                MODIFY SCHEDULING ORDER
14    SMITHS DETECTION, INC., et al.,
15                                  Defendants.
16
17         On September 24, 2021, the Parties filed a Joint Motion to Modify Scheduling Order
18   pursuant to this Court’s September 21, 2021 Order (“Joint Motion”). (Doc. No. 32.) The
19   Parties move the Court to continue the operative September 30, 2021 fact discovery cut-
20   off such that Plaintiff’s counsel may take the deposition of Shan Hood, a witness for
21   Defendant who has become unavailable for deposition any time prior to September 30,
22   2021. (Id.) Having reviewed and considered the Parties’ Joint Motion, the Court GRANTS
23   the Joint Motion. The Court hereby CONTINUES the September 30, 2021 fact discovery
24   cut-off to October 8, 2021 for the limited purpose of allowing Plaintiff’s counsel to take
25   Mr. Hood’s deposition. With the exception of Mr. Hood’s deposition, no other fact
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27   ///
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 1   discovery may be conducted beyond the September 30, 2021 cut-off.
 2         IT IS SO ORDERED.
 3   Dated: September 24, 2021
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